In Re:

Case 10-10711-JKO Doc924 _ Filed 04/30/19 Page 1of2

UNITED STATES BANKRUPTCY COURT
SOUTHER DISTRICT OF FLORIDA (FORT LAUDERDALE)

PROTECTIVE PRODUCTS OF
AMERICA, INC.

Case No. 10-10711-JKO
Chapter 11

 

NOTICE OF DEPOSIT OF FUNDS WITH THE U.S. BANKRUPTCY COURT CLERK

Notice is given that:

()

()

(X )

The trustee has a balance of $ remaining in the trustee's account
which represents unpresented checks drawn and mailed to entities pursuant to the
final distribution under U.S.C. §§726, 1226 or 1326 in a case under chapter 7, 12
or 13. The trustee has made a good faith effort to verify the correct mailing
addresses for said entities and deliver the funds before presenting this notice.
More than sufficient time has passed for these checks to be presented for payment;
or

The trustee has a balance of $ remaining in the trustee's account
which represents small dividends as defined by Bankruptcy Rule 3010; or

The disbursing agent in a chapter 11 liquidating plan has $ 40,248.31 in funds
unclaimed 120 calendar days after the final distribution under the plan. The
disbursing agent has made a good faith effort to verify the correct mailing
addresses for said entities and deliver the funds.

 

Attached and made a part of this notice is a list, pursuant to Bankruptcy Rule 3011, of the
names, claim numbers and addresses of the claimants and the amount to which each is entitled.

Notice is given that the above stated sum has been deposited with the Clerk of the U.S.

Bankruptcy Court, Southern District of Florida, to eff

April 19, 2019

closing of this estate.

    

itl

= al

Kenneth A. Welt, Trustee
§201 Peters Rd., Ste. 1000
Plantation, FL 33324
Phone (954) 368-6682
Name
Dr. Jeff Djafar
Brown of Atlanta, Inc
Global Armour SA

Claim #
AASSoO35

Case 10-10711-JKO Doc924_ Filed 04/30/19

Address 1
Chemin Vuilonnex 24

OAAA0021 = 55 Water St.

DDD5292

PO Box 10605

Address 2
Configron 122
Attn: Amy Brown

City

New York
Ashwood

Page 2 of 2

State
Switzerland
NY
KZ

Zip

10041
South Africa

Amount
14,096.25
17,996.76
